                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


BLAKE LIVELY,

                          Plaintiff,
      v.
                                                 No. 1:24-cv-10049-LJL
WAYFARER STUDIOS LLC, a Delaware Limited         (Consolidated with 1:25-cv-00449-
Liability Company, JUSTIN BALDONI, an            LJL)
individual, JAMEY HEATH, an individual,          rel. 1:25-cv-00779-LJL
STEVE SAROWITZ, an individual, IT ENDS
WITH US MOVIE LLC, a California Limited
Liability Company, MELISSA NATHAN, an
individual, THE AGENCY GROUP PR LLC, a
Delaware Limited Liability Company, JENNIFER
ABEL, an individual, JED WALLACE, an
individual, and STREET RELATIONS INC., a
California Corporation,

                          Defendants.



WAYFARER STUDIOS LLC, a Delaware Limited
Liability Company, JUSTIN BALDONI, an
individual, JAMEY HEATH, an individual, IT
ENDS WITH US MOVIE LLC, a California
Limited Liability Company, MELISSA NATHAN,
an individual, and JENNIFER ABEL, an
individual, and STEVE SAROWITZ, an individual,

                          Plaintiffs,
      v.

BLAKE LIVELY, an individual, RYAN
REYNOLDS, an individual, LESLIE SLOANE, an
individual, VISION PR, INC., a New York
Corporation, and THE NEW YORK TIMES
COMPANY, a New York Corporation,

                          Defendants.

 VISION PR, INC. AND LESLIE SLOANE’S MEMORANDUM OF LAW IN SUPPORT
      OF THEIR MOTION TO DISMISS THE AMENDED COMPLAINT, FOR
         ATTORNEYS’ FEES AND COSTS, AND TO STRIKE EXHIBIT A
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       Consolidated Defendants Leslie Sloane and Vision PR, Inc. respectfully submit this

memorandum of law in support of their Motion to Dismiss the Amended Complaint for failure to

state a claim, for attorneys’ fees and costs, and to Strike Exhibit A of the Amended Complaint,

pursuant to Federal Rule of Civil Procedure 12(b)(6) and (f), and New York’s anti-SLAPP law.

                               PRELIMINARY STATEMENT

       Justin Baldoni has spent years profiting off the feminist and #MeToo movements, peddling

books, podcasts, TED Talks, and more using slogans about believing survivors, ending victim

blaming, and promoting informed consent. His conduct in this dispute is therefore sheer hypocrisy,

beginning with his egregious sexual harassment of multiple employees, and continuing with his

ongoing campaign to discredit and blame his victims and punish anyone who speaks out against

him. The Wayfarer Parties’ 1 allegations about Blake Lively boil down to: she was too ambitious,

too outspoken, and she should have accepted Baldoni’s bizarre and abusive practices without

complaint—no matter how uncomfortable they made her and other women on set.

       As alleged in Ms. Lively’s complaint, Baldoni invaded her trailer while she was undressed,

improvised kissing scenes without her consent, and repeatedly crossed professional boundaries by

showing her a video of a naked woman, discussing his pornography addiction, and discussing his

past sex life, including instances when he did not “always listen when [women] said no.”

Unfortunately, Ms. Lively was not Baldoni’s only victim.

       Baldoni does not deny the lion’s share of misconduct for which he is accused. Instead, he

tries to contextualize his behavior and suggest that Ms. Lively asked for it. 2 When Ms. Lively


1
  Initially capitalized terms not defined herein shall have the same meaning as in the Amended
Complaint. ECF No. 50 (“Amended Complaint” or “AC”).
2
  For instance, Baldoni responds to Ms. Lively’s allegation that Baldoni and Heath “invaded” her
“trailer uninvited while she was undressed, including when she was breastfeeding her infant child,”
ECF No. 84 ¶ 105, by publishing a text message where Ms. Lively “invited Baldoni to her trailer


                                                1
bravely spoke up about Baldoni’s predatory behavior, he and his team used every weapon in their

arsenal to blame, embarrass, and silence her, going so far as to hire a crisis PR manager who

promised to “bury” Ms. Lively and “destroy” her life. 3

       Baldoni also trivializes this dispute about sexual harassment and retaliation by trying to

recharacterize it as a mere battle for creative control of the movie, It Ends With Us. Baldoni’s

allegations about the creative issues are irrelevant and tellingly sexist. Because Ms. Lively—an

executive producer on the film—dared to offer input on the script, wardrobe, and editing, Baldoni

blasts her as “tyrannical” and “aggressive,” among other coded terms.

       The Wayfarer Parties dragged Leslie Sloane and Vision PR, Inc. into the instant litigation

as a smoke and mirrors exercise to distract from their own sexual harassment and systematic

retaliation. But the Wayfarer Parties never had a Rule 11 basis for accusing Ms. Sloane or her

company of propagating “malicious stories” or a “smear campaign” about the Wayfarer Parties.

Other than one New York Times article that they cannot plausibly connect to Ms. Sloane or her

company in any way, the Wayfarer Parties do not identify a single “malicious story” that is part of

their invented “smear campaign.” By the Wayfarer Parties’ own allegations, all Ms. Sloane did

was respond to a press inquiry about a story that Baldoni’s team seemingly planted. The Amended

Complaint does not—and cannot—identify anything Ms. Sloane did that comes anywhere close to

the damning communications between Baldoni and his own publicists concerning an explicit



to rehearse while pumping breast milk.” AC ¶ 58. But as Baldoni has preached, consent is specific
and reversible, see https://tinyurl.com/4dbya7jp, and an invitation to enter Ms. Lively’s trailer on
one occasion is not an open invitation to enter her trailer whenever he pleased. Further, a true
“advocate for postpartum mothers” would know there is a radical difference between pumping and
breastfeeding. Ms. Lively’s text message does not undermine her credible allegations in the least.
3
  In his TED Talk, Baldoni presciently asks, “Are you confident enough to listen to the women in
your life, to hear their ideas and their solutions, to hold their anguish, and actually believe them,
even if what they’re saying is against you?” See https://tinyurl.com/442djjfp at 13:30. Clearly,
Baldoni’s response to his own question is a resounding “no.”
                                                 2
campaign to “destroy” and “bury” the woman employee who accused him of sexual harassment.

       The Wayfarer Parties accuse Ms. Sloane and Vision PR, Inc. of extortion but do not (and

cannot) identify where or how the alleged extortion occurred, or how Ms. Sloane or Vision PR,

Inc. received anything of value because of that extortion. They also assert claims for defamation

without complying with the basic requirement of identifying or describing the statements they

allege are defamatory. Because the Amended Complaint’s scattershot allegations fail to adequately

plead claims for civil extortion, defamation, and false light, Ms. Sloane and Vision PR, Inc.

respectfully request that the Court dismiss the Amended Complaint with prejudice and award

attorneys’ fees and costs under New York’s anti-SLAPP law.

                                  FACTUAL BACKGROUND

       Ms. Sloane is the owner of Vision PR, Inc., and the renowned, long-time publicist of

numerous celebrities including Ms. Lively and Ryan Reynolds. She has a decades’-long reputation

for professionalism and trustworthiness, and the Wayfarer Parties’ baseless claims against her have

caused her irreparable professional damage and emotional harm. Ms. Sloane has never “leak[ed]

sensitive stories to provoke public controversy” on behalf of any of her clients, and the Wayfarer

Parties’ attempt to characterize Vision PR, Inc. as a “Harvey Weinstein-backed PR firm” is

intentionally misleading. AC ¶ 187 & n.24. 4 Vision PR, Inc. is entirely unaffiliated with Weinstein,

and any stories that the Wayfarer Parties have planted or encouraged claiming that Ms. Sloane

ever worked with Weinstein to attack or discredit his victims are baseless.

       The Wayfarer Parties claim that Ms. Sloane initiated the public relations war between the

parties and orchestrated a “smear campaign” against Baldoni, but the Amended Complaint does



4
 This allegation is meant solely to harm Ms. Sloane and “inflame the reader.” Morse v.
Weingarten, 777 F. Supp. 312, 319 (S.D.N.Y. 1991).


                                                 3
not allege any facts to support these inflammatory accusations. Their own submissions in fact

prove the opposite. Baldoni’s PR team began plotting against Ms. Lively as of at least July 31,

2024, and by August 4 his publicist Jennifer Abel wrote that she wanted to “plant pieces this week

of how horrible Blake is to work with.” Melissa Nathan, who Baldoni hired as a crisis management

expert on the promise that she “can bury anyone,” responded that she had “already off the record[]

Spoke to the editor [of] [the] Daily Mail.” ECF No. 50-1 at 112. Ms. Sloane, by contrast, is not

alleged to have spoken to the press until four days later, on August 8, 2024, when she responded

to a Daily Mail reporter’s inquiry. See AC ¶ 190. In other words, by the Amended Complaint’s

own allegations, Ms. Sloane did not speak to the press about Baldoni until August 8, when she

responded to a press inquiry about a story that Baldoni’s team planted days (if not weeks) earlier.

       The Wayfarer Parties’ claims against Ms. Sloane and Vision PR, Inc. appear to arise out

of the statements that Ms. Sloane allegedly made to the Daily Mail Reporter (“the Reporter”) that

she spoke to on August 8. According to the Amended Complaint, the Reporter asked to speak with

Ms. Sloane “regarding prob[lem]s on the set involving [Blake Lively] and Justin Baldoni and the

fallout over that with Blake being labeled difficult and a power struggle existing,” and Ms. Sloane

responded, “That is 1000 percent untrue” and “Your info is totally off[.]” Id. ¶ 189. Ms. Sloane

further stated, “The whole cast doesn’t like Justin nothing to [sic] do with Blake” and “I’m telling

you she’s a liar. They are panicking as the whole cast hates him[.]” Id.¶ 190.

       The Amended Complaint also includes a screenshot of text messages between Nathan and

the Reporter, which were purportedly exchanged “[f]ollowing the release of Lively’s

administrative complaint on December 20, 2024.” Id. ¶ 193. In the texts, the Reporter writes,

       She said the whole cast [hates] Justin this has nothing to do with Blake and now
       she’s saying that Blake was sexually assaulted. Why wouldn’t she say anything
       about that then?

Id. Ms. Sloane did not write the words appearing in these messages, and the Amended Complaint
                                                 4
does not allege otherwise. Despite including multiple screenshots of text messages written by Ms.

Sloane, the Amended Complaint includes no messages where Ms. Sloane writes that “Blake was

sexually assaulted” or uses similar language.

         While the Amended Complaint fails to provide the requisite context for any statements

allegedly attributable to Ms. Sloane, the only plausible reading of this conversation (which did not

include Ms. Sloane) is that the Reporter read the December 20 administrative complaint and was

himself characterizing those allegations as Ms. Lively being “sexually assaulted.”

                                       LEGAL STANDARD

         To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). Legal conclusions are not entitled to any assumption of truth, nor are

mere recitals of the elements of a cause of action. Id. When the claims in a complaint have not

crossed the line from “conceivable to plausible,” the complaint must be dismissed. Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 570 (2007).

                                           ARGUMENT 5

         The Wayfarer Parties assert claims for extortion, defamation, and false light invasion of

privacy against Ms. Sloane and Vision PR, Inc. Each fails for multiple, independent reasons.

    I.      The Amended Complaint Must Be Dismissed Due To Impermissible Group
            Pleading.

         As a threshold matter, the Amended Complaint should be dismissed because it is replete

with “impermissible group pleading,” in that it “generally attribute[s] misconduct to the

‘Defendants’ collectively,” while failing to “differentiate between the [multiple] defendants.”



5
 Ms. Sloane and Vision PR., Inc. incorporate by reference arguments made by Ms. Lively, Mr.
Reynolds, and the New York Times Company to the extent applicable here.
                                                   5
TheECheck.com, LLC v. NEMC Fin. Servs. Grp. Inc., 2017 WL 2627912, at *2 (S.D.N.Y. June

16, 2017). Each cause of action is asserted by the “Wayfarer Parties,” collectively, against the

“Lively Parties,” collectively. AC ¶¶ 316–39. For example, the defamation claim is asserted

against all five “Lively Parties” but does not identify the defamatory statements, much less which

“Lively Part[y]” said them. Ms. Sloane cannot be held liable for defamation for statements made

by Ms. Lively or Mr. Reynolds (and vice versa). Nor can she be held liable for an allegedly

defamatory article published by the New York Times where she did not even serve as a source.

See Rosenberg v. Home Box Office, Inc., 2006 WL 5436822, at *8 (N.Y. Sup. Ct. Jan. 30, 2006)

(“[U]nder New York law, defendants are not responsible for statements attributable to a newspaper

reporter, that they themselves did not write or publish.”). 6

       The Amended Complaint also lacks a basic mapping of which Wayfarer Party (as a

plaintiff) is asserting claims against each of the “Lively Parties.” An explanation for the basis of

each party’s claims is required here as it cannot be that each plaintiff has good faith claims against

each defendant. See Atuahene v. City of Hartford, 10 F. App’x 33, 34 (2d Cir. 2001) (affirming

dismissal of complaint due to impermissible group pleading). For instance, there is no viable

defamation claim that the “Wayfarer Parties” can assert against Ms. Sloane because Ms. Sloane is

not alleged to have made a single statement—let alone a defamatory statement—regarding anyone

other than Baldoni. Similarly, the Wayfarer Parties cannot assert an extortion claim against each

of the “Lively Parties” when Ms. Sloane is not alleged to have received anything of value from

any of the Wayfarer Parties, and she did not communicate with anyone other than Nathan. The

Amended Complaint must therefore be dismissed. See Berdeaux v. OneCoin Ltd., 561 F. Supp. 3d



6
 In any event, any statements concerning Ms. Lively’s complaint, including but not limited to the
New York Times article, are privileged under New York Civil Rights Law § 74. See, e.g., Ctr. for
Med. Progress v. Planned Parenthood Fed’n of Am., 551 F. Supp. 3d 320, 331 (S.D.N.Y. 2021).
                                                  6
379, 397 (S.D.N.Y. 2021) (dismissing complaint that was “riddled with instances of improper

group pleading, in which they refer to actions taken by ‘the Scott Group Defendants’”).

   II.      The Amended Complaint Fails To State A Claim For Civil Extortion.

         The civil extortion claim fails for several reasons. First, civil extortion is not a cognizable

claim under New York law, which clearly applies to the claims against Ms. Sloane and Vision PR,

Inc. See Shak v. Krum, 2018 WL 5831319, at *5 (S.D.N.Y. Nov. 6, 2018) (dismissing civil

extortion claim because it is not a cause of action under New York law); Murphy v. Kozlowska,

217 A.D.3d 455, 456 (1st Dep’t 2023) (same). Without any analysis whatsoever, the Wayfarer

Parties “assert their claims under” California law, merely because “Lively has contended that

California law applies” as to her own affirmative claims. AC at 211 & n.27.

         Ms. Sloane and Vision PR, Inc. do not stipulate to the application of California law as to

the claims leveled against them, however, and to determine what law applies, New York courts

conduct an “interest analysis” and apply the law of the state having the greatest interest in the

litigation. Here, New York has the greatest interest in the dispute. The Lively Parties are all

domiciled in New York, AC ¶¶ 307–11, and the Wayfarer Parties concede that all relevant conduct

occurred in New York, see id. ¶¶ 41, 44, 67, 314, and that they allegedly suffered harm “within”

New York, id. ¶ 314. Accordingly, New York law applies. See, e.g., Amusement Indus., Inc. v.

Stern, 693 F. Supp. 2d 327, 340–41 (S.D.N.Y. 2010) (applying New York law to tort claim even

though plaintiff was domiciled out of state); Thomas H. Lee Equity Fund V, L.P. v. Mayer Brown,

Rowe & Maw LLP, 612 F. Supp. 2d 267, 283–84 (S.D.N.Y. 2009) (same).

         Second, even if New York were to recognize a civil cause of action for extortion, it must

be dismissed as impermissibly duplicative of the defamation claim. The Wayfarer Parties do not

allege that Ms. Sloane engaged in any wrongful conduct beyond making a handful of statements

that the Wayfarer Parties claim are defamatory. See AC ¶¶ 189–93. Their claim therefore sounds
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in defamation, and the Wayfarer Parties may not circumvent defamation defenses by styling their

claim as some alternative tort. See Hengjun Chao v. Mount Sinai Hosp., 476 F. App’x 892, 895

(2d Cir. 2012) (affirming dismissal of tort claims as duplicative of defamation claim where the

underlying factual allegations were “virtually identical” and alleged underlying harms “all

‘flow[ed] from the effect on his reputation caused by [] allegedly defamatory statements”); Lesesne

v. Brimecome, 918 F. Supp. 2d 221, 225 (S.D.N.Y. 2013) (“There are a plethora of cases in which

courts have found that claims brought under the guise of other causes of action actually sound in

defamation, even if the plaintiff alleged economic harm.”) (collecting cases).

        Third, the extortion claim fails “regardless of whether the issue is controlled by the law of

California or New York” because there are federal courts in California which “indicate that no

such cause of action is available under California law” and the “California Supreme Court has not

yet determined the issue.” Chevron Corp. v. Donziger, 2013 WL 3879702, at *1 (S.D.N.Y. July

29, 2013); see Samzelius v. Bank of Am., 2012 WL 12949683, at *9 (N.D. Cal. Oct. 9, 2012)

(holding that extortion is only a “criminal offense” and not a “private right of action”); Arista

Records v. Sanchez, 2006 WL 5908359, at *2 (C.D. Cal. Mar. 1, 2006) (same); see also Bank of

New York Mellon v. DeSelms, 2019 WL 8198310, at *4 (C.D. Cal. Mar. 25, 2019) (noting courts

are “divided over whether California recognizes a civil cause of action for extortion”).

        Fourth, even if the Court were to determine that California law applies and follow decisions

recognizing a claim for civil extortion under California law, the Wayfarer Parties fail to allege the

essential elements of that claim. Extortion refers to (1) “the obtaining of property . . . from another,

with his . . . consent,” (2) “induced by a wrongful use of force or fear, or under color of official

right.” Cal. Penal Code § 518. “Because extortion is in substance a fraud claim, it is subject to the

heightened pleading requirements of Federal Rule of Civil Procedure Rule 9(b).” Intermarketing



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Media, LLC v. Barlow, 2021 WL 5990190, at *13 (C.D. Cal. May 4, 2021). “To satisfy this

standard, plaintiffs must allege ‘the who, what, when, where, and how of the misconduct

charged.’” Id. Here, neither element of an extortion claim is alleged, much less with particularity.

           The Wayfarer Parties do not—and cannot—allege that Ms. Sloane or Vision PR, Inc.,

“obtain[ed]” any “property” from them. See, e.g., DeSelms, 2019 WL 8198310, at *4 (“Even

assuming for the sake of argument that a civil cause of action for extortion exists, [plaintiff’s]

complaint fails . . . because it does not allege that [defendant] actually obtained property from

her.”); Arista, 2006 WL 5908359, at *2 (dismissing extortion claim where “Defendant has not

alleged that any property was taken from her”).

           Nor do the Wayfarer Parties allege that Ms. Sloane used “force or threats” to obtain

anything from them. Doe v. Mahboubi-Fardi, 2024 WL 2206640, at *13 (C.D. Cal. Jan. 2, 2024);

see Arista, 2006 WL 5908359, at *2 (dismissing extortion claim where counterclaimant did not

allege “wrongful use of force, violence, or fear” and instead “merely allege[d] that Plaintiffs

informed her of their intent to file the present action, filed the present action, and offered to settle

it”). In fact, the Amended Complaint does not allege that Ms. Sloane so much as spoke to six of

the seven Wayfarer Parties (Baldoni, Wayfarer Studios LLC, Jamey Heath, It Ends With Us Movie

LLC, Abel, and Steve Sarowitz), and in her limited communications with Nathan, Ms. Sloane is

not alleged to have said anything improper, let alone threatening. See AC ¶¶ 188, 191. 7

           For the foregoing reasons, the Court should dismiss the civil extortion claims.

    III.      The Amended Complaint Fails To State A Claim For Defamation.

           The Wayfarer Parties’ defamation claim fails on multiple grounds. As a threshold issue,

the Amended Complaint does not (and cannot) allege that Ms. Sloane made a single statement


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  Ms. Sloane also cannot be held liable for anything another person did as California law requires
a “direct” use of “force or fear against” the plaintiffs. Mahboubi-Fardi, 2024 WL 2206640, at *13.
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concerning six of the seven Wayfarer Parties. Further, all three statements—that “[t]he whole cast

doesn’t like Justin,” “the whole cast hates him,” and “Blake was sexually assaulted”—cannot give

rise to a defamation claim because they are (1) inactionable opinion or, in the alternative,

substantially true; (2) not alleged to have been made with actual malice; and (3) not alleged to have

given rise to special damages. The statement that “Blake was sexually assaulted” cannot give rise

to a defamation claim for the additional reasons that this statement is not attributable to Ms. Sloane,

and the circumstances of this statement are not alleged with the requisite specificity. 8

           A. Ms. Sloane’s Alleged Statements Do Not Concern Six of the Seven Wayfarer
              Parties.

       As a threshold matter, the Wayfarer Parties’ defamation claim must be dismissed to the

extent it is asserted by Wayfarer Studios LLC, Heath, It Ends With Us Movie LLC, Nathan, Abel,

and Sarowitz. It is axiomatic that to state a claim for defamation, the allegedly defamatory

statement must be “of and concerning the [defamation] plaintiff.” Kirch v. Liberty Media Corp.,

449 F.3d 388, 398 (2d Cir. 2006). Whether a plaintiff has adequately alleged that the defamatory

statements are “of and concerning” him may be properly considered on a Rule 12(b)(6) motion.

See Thai v. Cayre Grp., Ltd., 726 F. Supp. 2d 323, 330 (S.D.N.Y. 2010).

       Here, the Wayfarer Parties do not even attempt to allege a single statement by Ms. Sloane

that is “of and concerning” six of the seven Wayfarer Parties, and instead allege that Ms. Sloane

made a handful of statements concerning only Baldoni. See AC ¶¶ 189–93. Accordingly, the

Wayfarer Parties’ defamation claim must be dismissed to the extent it is asserted by anyone other


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  New York law applies to the defamation claim because the alleged harm was suffered in New
York, AC ¶ 314, the statements emanated from New York, id. ¶¶ 309–10, the conduct to which
the alleged defamatory statements refer all took place in New York, see id. ¶¶ 41, 44, 67, and New
York has “strong policy interests in regulating the conduct of its citizens and its media,” Jacob v.
Lorenz, 626 F. Supp. 3d 672, 685 (S.D.N.Y. 2022). See also Kinsey v. New York Times Co., 991
F.3d 171, 176–78 (2d Cir. 2021) (applying New York law to defamation claim where plaintiff was
domiciled out of state); Prince v. Intercept, 634 F. Supp. 114, 133–34 (S.D.N.Y. 2022) (same).
                                                  10
than Baldoni. See Three Amigos SJL Rest., Inc. v. CBS News Inc., 28 N.Y.3d 82, 87 (2016)

(statements that a strip club was a mafia enterprise were not “of and concerning” individuals

associated with the club); Cardone v. Empire Blue Cross & Blue Shield, 884 F. Supp. 838, 847–

48 (S.D.N.Y. 1995) (statements defaming company were not “of and concerning” its CEO).

           B. Ms. Sloane’s Alleged Statements Are Inactionable Opinion, Or, In The
              Alternative, Are Substantially True.

               i. Ms. Sloane’s Alleged Statements Are Inactionable Opinion.

       The Wayfarer Parties’ defamation claim also fails because Ms. Sloane’s statements reflect

inactionable opinion. “[O]nly factual statements are actionable as defamation.” Chau v. Lewis, 771

F.3d 118, 128 (2d Cir. 2014). “Defendants cannot be liable ‘for simply expressing their opinion

. . . no matter how unreasonable, extreme or erroneous these opinions might be.’” Cooper v.

Templeton, 629 F. Supp. 3d 223, 235 (S.D.N.Y. 2022).

       To determine whether a statement is one of actionable fact or inactionable opinion, courts

consider “(1) whether the challenged statements have a precise and readily understood meaning;

(2) whether the statements are susceptible of being proven false; and (3) whether the context

signals to the reader that the statements are more likely to be expressions of opinion rather than

fact.” Hammer v. Amazon.com, 392 F. Supp. 2d 423, 431 (E.D.N.Y. 2005). This inquiry is “a

question of law.” Rapaport v. Barstool Sports Inc., 2024 WL 88636, at *2 (2d Cir. Jan. 9, 2024).

       Ms. Sloane’s alleged statements that “[t]he whole cast doesn’t like Justin” and “the whole

cast hates him” are clearly statements of opinion. See AC ¶ 190. Because these hyperbolic,

personal sentiments are not susceptible to being proven true or false, they cannot be subject to a

claim for defamation. See, e.g., Brady v. NYP Holdings, Inc., 2022 WL 992631, at *7 (S.D.N.Y.

Mar. 31, 2022) (Liman, J.) (holding the term “gadfly” is inactionable opinion because “it is an

expression of one’s view of another” and “[a]nnoyance is, to some extent, in the eye of the


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beholder”); Caro Cap., LLC v. Koch, 2021 WL 1595843, at *11 (S.D.N.Y. Apr. 23, 2021) (Liman,

J.) (holding characterization of activities as “incessant malevolence” was “perhaps extravagant”

but an “expression of opinion, and therefore not actionable”); Adler v. Solar Power, Inc., 2018 WL

1626162, at *10 (S.D.N.Y. Mar. 30, 2018) (characterizing someone “as a bad person is a statement

of opinion”); Kerns v. Ishida, 208 A.D.3d 1102, 1103 (1st Dep’t 2022) (statements that plaintiff

“acts like a psychotic nutcase” and was “extremely unprofessional” had a “loose, figurative, or

hyperbolic tone” and were “grounded in opinion”) (cleaned up).

       The statement “Blake was sexually assaulted,” AC ¶ 193, likewise amounts to inactionable

opinion given the context in which it was made. As noted above, the Amended Complaint does

not allege what specific words Ms. Sloane may have said to the Reporter, what date the

conversation occurred, or in what context the allegedly defamatory statement was made. To the

extent the Wayfarer Parties rely entirely on the image capture re-produced at the end of paragraph

193, the phrase “sexually assaulted” appears to be the Reporter’s characterization of details

included in “Lively’s administrative complaint,” and not any words Ms. Sloane ever said. Even if

Ms. Sloane did use those or similar words, however, where a statement does “not appear to be

based on any undisclosed facts,” but rather, offers the speaker’s “perception of the facts laid out

in” a public “complaint,” the statement amounts to inactionable opinion. Miller v. James, 2024

WL 4333197, at *12 (N.D.N.Y. Sept. 27, 2024); see Rapaport, 2024 WL 88636, at *4 (affirming

holding that statements calling plaintiff a “stalker” who “has committed domestic abuse” were

inactionable opinion because “[a] reasonable viewer would understand [the speaker’s] comments

to be conveying his (erroneous) understanding of the charges described in [an] article that was

simultaneously presented to the audience”); Brahms v. Carver, 33 F. Supp. 3d 192, 200 (E.D.N.Y.

2014) (finding a statement was inactionable opinion where it was clear that the speaker’s view that



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the plaintiff was a “thief” and “counterfeiter” was based on “two news articles”).

       Even assuming Ms. Sloane used that phrase outside the context of discussing Lively’s

publicly available administrative complaint (and was not merely summarizing what she read or

what others told her), the term “sexual assault” is insufficiently precise and means different things

to different people. See Barber v. Premo, 2021 WL 6622496, at *9 (N.Y. Sup. Ct. Sept. 29, 2021)

(holding the term “assaulted” is “susceptible to a wide range of meanings”); Columbia Health,

What Is Sexual Assault?, https://tinyurl.com/4jz2t7mx (Oct. 25, 2023) (“Sexual assault can

encompass a multitude of forms such as nonconsensual kissing, groping, and/or penetration.”).

“Courts have been hesitant to apply one definition of a word when there is a colloquial meaning,

even if there is also a specific legal or political definition.” Miller, 2024 WL 4333197, at *11

(finding the word “terrorist” to be a statement of opinion, even when uttered by Attorney General

during a press conference, because “the Court is not persuaded that Defendant intended to use the

specific, legal definition” and therefore, “is not convinced that the language at issue has a precise

meaning that is readily understood”).

       Because the texts between Nathan and the Reporter do not discuss any specific conduct by

Baldoni or refer to any specific definition of the phrase “sexual assault” as used by the Reporter,

the phrase has no “precise meaning that is readily understood.” Id. In a similar case, Barber v.

Premo, a New York Supreme Court held that a statement that the plaintiff “assaulted many ppl”

was inactionable opinion because “there is no precise, readily understood meaning of what [the

speaker] may have meant by the use of the term, and it appears on its face to be a hyperbolic

phrase, and thus not defamatory.” 2021 WL 6622496, at *10; see also Rosa v. Eaton, 2024 WL

3161853, at *3 (S.D.N.Y. June 25, 2024) (“[C]ourts have recognized that words” like “predators”

and “criminals” are “vague, imprecise statements of hyperbole considered nonactionable



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opinion.”); Springer v. Almontaser, 75 A.D.3d 539, 541 (2nd Dep’t 2010) (“The defendant’s

statement that she was stalked and harassed was not an actionable statement of objective fact

because it did not have a precise, readily understood meaning.”).

               ii.   In The Alternative, Ms. Sloane’s Alleged Statements Are Substantially
                     True.

       In the alternative, to the extent the Court finds that any of Ms. Sloane’s alleged statements

are statements of fact, rather than statements of opinion, the Wayfarer Parties’ defamation claim

still fails because those facts are substantially true, which is all that the law requires. See, e.g.,

Chung v. Better Health Plan, 1997 WL 379706, at *2–3 (S.D.N.Y. July 9, 1997). A statement is

“substantially true” when it has the same “gist or sting” as the truth, or when, even “though

technically false,” it “conveyed the same effect as the literal truth.” Id. (citation omitted); see

Tannerite Sports, LLC v. NBCUniversal News Grp., 864 F.3d 236, 245–50 (2d Cir. 2017) (noting

“a plaintiff must plead facts demonstrating” lack of “substantial truth” to “survive a motion to

dismiss” and affirming dismissal of defamation claim where statements were at least substantially

true); Caro Cap., LLC, 2021 WL 1595843, at *11 (Liman, J.) (statement that individual

“commit[ed] felonies that led to his imprisonment” was substantially true even though his sentence

was reduced to “time served”); Chung, 1997 WL 379706, at *3 (statement that plaintiff had a

“sexual harassment lawsuit pending” was substantially true even though he had only filed EEOC

charge).

       Here, the Wayfarer Parties do not deny the truth of Ms. Sloane’s alleged statements that

“[t]he whole cast doesn’t like Justin” and “[t]he whole cast hates him.” See AC ¶ 190. Quite the

opposite, the Wayfarer Parties specifically allege that the cast “side[d]” with Ms. Lively,

“oust[ed],” “shun[ned],” and “ic[ed] out” Baldoni, and even “refused to attend [the premiere] if

Baldoni was present.” AC ¶¶ 6, 149, 159, 166, 175.


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       Nor do the Wayfarer Parties meaningfully deny the truth of the underlying facts for the

alleged statement that “Blake was sexually assaulted.” For instance, Ms. Lively alleges that

Baldoni engaged in sexual contact without her consent, including by “bit[ing] and suck[ing]” on

her “lower lip during a scene in which he improvised numerous kisses on each take.” ECF No. 84

¶ 80. The Wayfarer Parties do not expressly deny this conduct, and merely argue that Baldoni did

not need Ms. Lively’s “permission” to “improvis[e]” because he was purportedly “in character”

and this behavior was apparently acceptable on the show “Jane the Virgin.” AC ¶ 91. But whether

Baldoni believes sexual contact without “permission” is appropriate in the workplace has no

bearing on whether Ms. Lively consented to his unscripted advances, which she did not.

       As noted above, it is implausible that the speaker (whether Ms. Sloane or the Reporter)

intended to convey a specific or legal meaning for the phrase “sexual assault.” But if he or she did,

Baldoni’s unwanted sexual contacts likely fall within New York courts’ definition of sexual assault

such that the characterization of Lively’s allegation is substantially true. See Morrison v. Scotia

Capital (USA) Inc., 2023 WL 8307930, at *2–3 (S.D.N.Y. Dec 1, 2023) (collecting cases and

finding that allegations that co-worker caressed plaintiff’s foot and hugged her from behind were

sufficient to allege “forcible touching,” which is one of “certain sexual assault claims” covered by

the Adult Survivors Act); People v. Sene, 66 A.D.3d 427, 427 (1st Dep’t 1999) (upholding

conviction for sexual abuse “premised on nonconsensual contact between defendant’s mouth and

the victim’s neck”).

       Therefore, the Wayfarer Parties’ defamation claim must be dismissed because all of Ms.

Sloane’s alleged statements are inactionable opinion, or statements of fact that are substantially

true. See, e.g., Ctr. for Med. Progress, 551 F. Supp. 3d at 331 (“Plaintiffs here cannot cherry-pick

one of several definitions of a word, take the word entirely out of context, and claim that such



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definition precludes a finding that the Challenged Statements were substantially accurate.”).

           C. The Alleged Statements Concerning “Sexual Assault” Are Insufficiently
              Specific.

       The Wayfarer Parties’ claim for defamation, to the extent based on paragraph 193’s

allegations concerning “sexual assault,” should be dismissed for the additional reason that it is

inadequately pleaded. Paragraph 193 of the Amended Complaint alleges that “Sloane escalated the

false narrative by telling the reporter that Blake was ‘sexually assaulted.’” As between Ms. Sloane

and the Reporter, however, there is no image capture or representation as to what specific and

allegedly defamatory words Ms. Sloane said, or when. Instead, the Amended Complaint merely

re-produces an image of an undated conversation between that Reporter and Nathan that includes

the words “and now she’s saying that Blake was sexually assaulted.” AC ¶ 193. The image of that

Reporter’s text conversation with Nathan (taken some time after December 20) embeds an image

of his August 8, 2024, conversation with Ms. Sloane and then describes the fact that Ms. Sloane

did not mention any allegations of sexual assault during their August 2024 conversation.

       To state a claim for defamation, purportedly defamatory statements must be identified with

“specificity.” Tannerite, 864 F.3d at 251. Specifically, a defamation claim must identify “the

purported communication” as well as “who made the communication, when it was made, and to

whom it was communicated.” Evliyaoglu Tekstil A.S. v. Turko Textile LLC, 2020 WL 7774377, at

*3 (S.D.N.Y. Dec. 30, 2020) (Liman, J.) (dismissing defamation claim for lack of specificity).

Because it is entirely unclear whether the Reporter is purporting to quote Ms. Sloane, or if he is

paraphrasing or offering his own interpretation of different words that she used, or if the “she” to

whom the Reporter is referring is Ms. Sloane at all, the Wayfarer Parties fail to allege “with

particularity the alleged falsehood uttered,” BCRE 230 Riverside LLC v. Fuchs, 59 A.D.3d 282,

283 (1st Dep’t 2009), much less “the time, place and manner of the [allegedly] false statement,”


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Tagliaferri v. Szulik, 2015 WL 5918204, at *4 (S.D.N.Y. Oct. 9, 2015). Their defamation claim

therefore fails for lack of specificity. See Kall v. Peekskill City Sch. Dist., 2020 WL 2555256, at

*9 (S.D.N.Y. May 19, 2020) (“Although Plaintiff has alleged, in broad strokes, to whom the

statements were made (unidentified [] employees), how they were communicated (verbally), and

when (within a 25-day period), this does not suffice to meet the particularity requirement.”);

O’Brien v. Alexander, 898 F. Supp. 162, 172 (S.D.N.Y. 1995) (dismissing defamation claim where

complaint “fails to allege which false statements were uttered by whom”).

           D. The Wayfarer Parties Fail to Allege Actual Malice.

       The defamation claim also fails because Baldoni is a public figure who must “plausibly

allege that [Ms. Sloane] made the statements with actual malice,” and the Wayfarer Parties fail to

do so for any statement. Prince, 634 F. Supp. 3d at 134.

       “Individuals who have ‘assumed roles of especial prominence in the affairs of society’ and

who have ‘invite[d] attention and comment’ are generally considered public figures.” McDougal

v. Fox News Network, LLC, 489 F. Supp. 3d 174, 185 (S.D.N.Y. 2020) (internal citation omitted).

As he admits in the Amended Complaint, Baldoni was the “costar” and “director” of It Ends With

Us, which was “one of the year’s biggest movies”; he is the “co-found[er]” of Wayfarer and has

“produc[ed] and direct[ed]” multiple films that were meant to “have a positive impact on the

world”; he “played the lead’s love interest in television’s Jane the Virgin for 5 years”; he has a

“podcast” and has written multiple “books”; and the list goes on. AC ¶¶ 9, 20–21, 91, 95, 100.

These allegations are more than sufficient to plead Baldoni into public figure status. See Maule v.

NYM Corp., 54 N.Y.2d 880, 881–82 (1981) (holding plaintiff was public figure based on his

“candid admissions” that “he was one of the best known writers at Sports Illustrated”); see also,

e.g., Ann-Margret v. High Soc. Mag., Inc., 498 F. Supp. 401, 404 (S.D.N.Y. 1980) (“There is little

doubt that the plaintiff, who has starred in numerous movies and television programs over the last
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decade or so, is, as the term has come to be understood, a ‘public figure.’”).

       Baldoni is therefore required to plead actual malice to state a claim for defamation. See,

e.g., Cabello-Rondon v. Dow Jones & Co., Inc., 2017 WL 3531551, at *7 (S.D.N.Y. Aug. 16,

2017). That is, Baldoni must allege that Ms. Sloane made her alleged statements with knowledge

of their falsity or reckless disregard for their truth. Id. The actual malice standard focuses on

whether the speaker “entertain[ed] ‘subjective doubts about the truth of the publication.’” Bloom

v. A360 Media LLC, 735 F. Supp. 3d 466, 472 (S.D.N.Y. 2024). The Court may resolve the issue

of actual malice as a matter of law at the pleading stage. See, e.g., Biro v. Conde Nast, 807 F.3d

541, 546 (2d Cir. 2015) (affirming dismissal of defamation claim where plaintiff’s allegations “fall

short of raising a plausible inference of actual malice”).

       The Wayfarer Parties fail to meet the “high bar” to allege actual malice here. McDougal,

489 F. Supp. 3d at 185. The Amended Complaint is devoid of any factual allegations that Ms.

Sloane knew or should have known that her alleged statements were false. Ms. Sloane was not a

first-hand witness of any activities taking place on set and, given Ms. Sloane’s longstanding

relationship with Ms. Lively, “it is no surprise that she credited [Ms. Lively’s] story.” Hughes v.

Twenty-First Century Fox, Inc., 304 F. Supp. 3d 429, 453 (S.D.N.Y. 2018) (dismissing defamation

claim for failure to plead actual malice and noting defendant’s reliance on co-defendant’s “version

of the events” was reasonable given their relationship). The Wayfarer Parties’ conclusory

allegation that “the Lively Parties knew the statements were false, or had serious doubts about the

truth of the statements,” AC ¶ 328, is insufficient to plead that Ms. Sloane’s specific statements

were made with malice, see McDougal, 489 F. Supp. 3d at 185, particularly considering that by

the Wayfarer Parties’ own allegations, Ms. Sloane’s statements were substantially true.

       The Amended Complaint contains no allegations sufficient to allege that Ms. Sloane



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subjectively harbored doubts as to the veracity of her statements, much less “nonconclusory facts

that support the proposition that [Ms. Sloane] knew that [she] was reporting falsities.” Bobulinski

v. Tarlov, 2024 WL 4893277, at *8 (S.D.N.Y. Nov. 26, 2024) (internal citation omitted). Like

most individuals accused of sexual harassment, it is no surprise that Baldoni has made every effort

to confuse the facts and blame the victim. But his predictable denials, “however vehement,” are

“insufficient to support a plausible claim of actual malice.” Prince, 634 F. Supp. 3d at 141.

           E. The Wayfarer Parties Fail to Allege Special Damages.

       The defamation claim also fails because the Wayfarer Parties fail to allege special

damages—that is, “the loss of something having economic or pecuniary value, which must flow

directly from the injury to reputation caused by the defamation.” Agnant v. Shakur, 30 F. Supp. 2d

420, 426 (S.D.N.Y. 1998). “To satisfy the special damages requirement, a [defamation] plaintiff

must set forth an itemized account of his losses; round figures, general allegations of a dollar

amount or boilerplate allegations of some impairment to business reputation are insufficient.” Id.;

see Zaret v. Bonsey, 2023 WL 6317956, at *3 (S.D.N.Y. Sept. 28, 2023). These pleading

requirements are “strictly applied, as courts will dismiss defamation claims for failure to allege

special damages with the requisite degree of specificity.” Thai, 726 F. Supp. 2d at 330.

       Here, the Wayfarer Parties make zero effort to plead special damages. Instead, they offer

boilerplate allegations of harm to “the Wayfarer Parties’ property, business, trade, profession,

and/or occupation” in an amount no “less than $400,000,000.” AC ¶ 329; id. at 222 ¶ 1. This is a

textbook example of nonspecific conclusory allegations that do not quantify plaintiffs’ harm “with

sufficient particularity to identify actual losses,” and thus “do[] not come close to meeting the New

York standard” for pleading special damages. Thai, 726 F. Supp. 2d at 330, 336; see Soter Techs.,

LLC v. IP Video Corp., 523 F. Supp. 3d 389, 410 (S.D.N.Y. 2021) (Liman, J.) (“Pleading damages

of ‘at least $1990,’ with no further explanation, falls short of the [particularity] requirement.”).
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          The unsupported $400,000,000 figure only confirms the deficiencies in the Amended

Complaint. “Such round figures, with no attempt at itemization, must be deemed to be a

representation of general damages” and such figures are insufficient to plead special damages for

a claim for defamation. Drug Rsch. Corp. v. Curtis Publ’g Co., 166 N.E.2d 319, 322 (1960); see

Nunez v. A-T Fin. Info. Inc., 957 F. Supp. 438, 441 (S.D.N.Y. 1997) (“[R]ound figures or a general

allegation of a dollar amount as special damages will not suffice.”); Dooner v. Keefe, Bruyette &

Woods, Inc., 2003 WL 135706, at *5 (S.D.N.Y. Jan. 17, 2003) (“[P]leading damages in the round

amounts of $2 million and punitive damages of $5 million are inconsistent with a claim of ‘special

damages.’”). 9

    IV.      The Amended Complaint Fails To State A Claim For False Light.

          The Wayfarer Parties’ false light claim also fails. As a threshold matter, false light is not a

cognizable claim under New York law. See, e.g., Cardone, 884 F. Supp. at 848. It must be

dismissed on these grounds alone. Brady, 2022 WL 992631, at *8 (Liman, J.) (“There is no tort of

false light invasion of privacy under New York law.”). 10

          Second, the false light claim is impermissibly duplicative of the defamation claim. The



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  To the extent the Wayfarer Parties argue that they are asserting claims of defamation per se, Ms.
Sloane’s alleged statements that “[t]he whole cast doesn’t like Justin” and “the whole cast hates
him” do not qualify, since they convey only “a more general reflection upon the plaintiff’s
character or qualities.” Liberman v. Gelstein, 80 N.Y.2d 429, 436 (1992). In other words, to be
defamatory per se, the statement “must have referred to a plaintiff in [his] professional role; [and]
it is insufficient that the statement allegedly tends to harm plaintiff in [his] professional pursuits.”
Wilson v. Tarricone, 2013 WL 12084504, at *4 (S.D.N.Y. Sept. 26, 2013); accord Gurtler v. Union
Parts Mfg. Co., 285 A.D. 643, 646 (1st Dep’t 1955). Likewise, the Reporter’s alleged statement
that “Blake was sexually assaulted” is insufficiently precise to charge Baldoni with the commission
of a serious crime so as to state a claim for defamation per se. See, e.g., Miller, 2024 WL 4333197,
at *13.
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   New York law applies to the false light claim for all the same reasons it applies to the extortion
claim. See DeIuliis v. Engel, 2021 WL 4443145, at *9–*10 (S.D.N.Y. Sept. 27, 2021) (applying
New York law to false light claim even though plaintiff was domiciled out of state); Berwick v.
New World Network Int’l, Ltd., 2007 WL 949767, at *7–8 (S.D.N.Y. Mar. 28, 2007) (same).
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false light claim is based on the same alleged conduct and same alleged harms underlying the

defamation claim, see AC ¶¶ 189–90, so it “must be dismissed as duplicative.” Deaton v. Napoli,

2019 WL 4736722, at *9 (E.D.N.Y. Sept. 27, 2019); see also Chord Assocs., LLC v. Protech 2003-

D, LLC, 2010 WL 3780380, at *1 (E.D.N.Y. Sept. 21, 2010) (“Conde’s claim for ‘false light

invasion of privacy’ fails because no such common-law claim exists under New York law, and,

additionally, any such claim would be duplicative of Conde’s defamation claim.”).

        Third, the false light claim fails for all the same reasons that the defamation claim fails.

See, e.g., Jackson v. Mayweather, 10 Cal. App. 5th 1240, 1264 (Cal. Ct. App. 2017), as modified

(Apr. 19, 2017) (“[W]hen a false light claim is coupled with a defamation claim, the false light

claim is essentially superfluous, and stands or falls on whether it meets the same requirements as

the defamation cause of action.”); Townsend v. McDonnell, 2019 WL 7882085, at *10 (C.D. Cal.

Dec. 12, 2019) (same).

        Fourth, the false light claim fails because the Wayfarer Parties fail to allege that Ms. Sloane

made any statements concerning them that would be “highly offensive to a reasonable person,”

which is an essential element of that claim. Brahmana v. Lembo, 2010 WL 965296, at *4 (N.D.

Cal. Mar. 17, 2010) (dismissing false light claim for failure to meet “highly offensive to a

reasonable person” standard). “[C]ourts have narrowly construed the ‘highly offensive’ standard.”

Id. “Fair but unflattering depictions are not actionable.” Sarver v. Hurt Locker LLC, 2011 WL

11574477, at *10 (C.D. Cal. Oct. 13, 2011) (citing Aisenson v. Am. Broad. Co., 220 Cal. App. 3d

146, 161 (Cal. Ct. App. 1990)). Ms. Sloane made no statements concerning six of the seven

Wayfarer Parties, and her statements regarding Baldoni were made in good faith and are

substantially true. Accordingly, the Wayfarer Parties fail to satisfy the “highly offensive” element.

   V.      Ms. Sloane And Vision PR, Inc. Are Entitled To Attorneys’ Fees And Costs.

        Upon dismissal of the Amended Complaint, the Court should award fees and costs under
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New York’s anti-SLAPP law. The statute applies to claims that, as here, are based upon any

“lawful conduct in furtherance of the exercise of the constitutional right of free speech in

connection with an issue of public interest.” N.Y. Civ. Rights Law § 76-a; see, e.g., Reeves v.

Associated Newspapers, Ltd., 218 N.Y.S.3d 19, 25 (1st Dep’t 2024) (“The 2020 amendments

expanded the scope of anti-SLAPP protection.”).

       The term “public interest” is broadly defined as “any subject other than a purely private

matter,” N.Y. Civ. Rights Law § 76-a(1)(d), and courts routinely conclude that statements

regarding alleged sexual misconduct concern the public interest. See, e.g., Watson v. NY Doe 1,

2023 WL 6540662, at *3 (S.D.N.Y. Oct. 6, 2023) (“[C]ourts have found ‘Facebook and LinkedIn

posts accusing [an individual] of sexual assault’ to be ‘communications concern[ing] an issue of

public interest.’”); Coleman v. Grand, 523 F. Supp. 3d 244, 259 (E.D.N.Y. 2021) (“[T]he Court

finds that sexual impropriety and power dynamics in the music industry . . . were indisputably an

issue of public interest.”). Statements regarding “prominent” figures like Baldoni also concern the

public interest. Coleman, 523 F. Supp. 3d at 360.

       Under the anti-SLAPP law, fee shifting awards are mandatory, not discretionary, where, as

here, a lawsuit “was commenced or continued without a substantial basis in fact and law.” N.Y.

Civ. Rights Law § 70-a(1)(a). Because the Wayfarer Parties’ claims all fail as a matter of law, Ms.

Sloane and Vision PR, Inc. are entitled to recover the attorneys’ fees and costs that they incurred

defending against the Wayfarer Parties’ baseless claims. See, e.g., Bobulinski, 2024 WL 4893277,

at *16 (granting request for attorney’s fees upon a Rule 12(b)(6) dismissal and noting the “demand

for attorney’s fees in the present action is thus sufficient to trigger Section 70-a(1), and she need

not file a separate action or counterclaim”); Trump v. Trump, 79 Misc. 3d 866, 887 (N.Y. Sup. Ct.

2023) (“[D]ue to dismissal of the claims asserted against [them, the defendants] are entitled to



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recover their costs and attorneys’ fees.”). 11

     VI.      The Court Should Strike Exhibit A To The Amended Complaint.

           As previewed at the February 3, 2025, hearing, the Court should strike Exhibit A to the

Amended Complaint pursuant to Rule 12(f). The Wayfarer Parties filed as an attachment to the

Amended Complaint a 168-page, single-spaced document that purports to be a “timeline”

providing “a summarized account of the sequence of key events.” ECF No. 50-1 at 1. Exhibit A is

an unsigned, one-sided factual narrative containing selective excerpts of emails and text messages

with numerous redactions and alterations, including text, underlining, and other annotations. See,

e.g., id. at 4 (redacting email addresses, identity of signatory, and large block of text); id. at 17

(adding text describing sender and red underlining). id. at 110 (adding red arrows and text). Exhibit

A should be stricken as it violates both the letter and spirit of the Federal Rules.

           Rule 8(a) requires that a pleading contain “a short and plain statement of the claim showing

that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The “principal function” of this Rule

is “to give the adverse party fair notice of the claim” while avoiding placing an “unjustified burden

on the court and the party who must respond.” Salahuddin v. Cuomo, 861 F.2d 40, 42 (2d Cir.

1988). “[C]onsistent with ‘Rule 8(a)’s requirement of a short and plain statement,’” courts may



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  Ms. Sloane and Vision PR, Inc. do not invoke the anti-SLAPP law’s procedural protections, and
instead invoke only the fees provision, which is substantive. See Bobulinski, 2024 WL 4893277,
at *12 (“The Second Circuit has consistently held that provisions for attorney’s fees are a
substantive, not procedural, right.”) (collecting cases). As Judge Oetken cogently explained in a
recent opinion, the fee provision does not conflict with the Federal Rules of Civil Procedure and
thus applies in federal court because entitlement to fees is not tied to a “specific state procedural
mechanism,” and instead “follows from the failure to state a claim as a matter of New York law.”
Id. at *13. Holding otherwise would lead to “inequitable” outcomes, invite forum-shopping, and
override “the New York legislature’s interest in protecting the robust free speech rights of New
Yorkers beyond that of the federal First Amendment protections.” Id. at *14. See, e.g., Matthew
L. Schafer & Tanvi Valsangikar, The Application of the New York AntiSLAPP Scheme in Federal
Court, 2 J. Free Speech L. 573, 599–614 (2023) (distinguishing contrary cases and analyzing in
detail why the statute’s fee provision applies in federal court).
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not properly consider for their truth statements contained in exhibits attached to pleadings. Delaney

v. HC2, Inc., 2025 WL 27484, at *1 n.1 (S.D.N.Y. Jan. 3, 2025) (Liman, J.) (collecting cases).

While Rule 10(c) provides that a “copy of a written instrument that is an exhibit to a pleading is a

part of the pleading for all purposes,” Fed. R. Civ. P. 10(c), “a personal, narrative summary” of

experiences and events “does not satisfy the definition of ‘written instrument,’” Smith v. Hogan,

794 F.3d 249, 254 (2d Cir. 2015). Rule 10 protects a defendant’s entitlement “to know the

allegations against it, and to have those allegations framed in separate paragraphs, ‘with sufficient

clarity to allow the defendant to frame a responsive pleading.’” Ahmad v. Experian Info. Sols.,

Inc., 2023 WL 8650192, at *5 (S.D.N.Y. Dec. 14, 2023) (Liman, J.) (citation omitted).

       Rule 12(f) authorizes courts to strike “any redundant, immaterial, impertinent or

scandalous matter” from any pleading. See Fed. R. Civ. P. 12(f). “When a complaint does not

comply with the requirement that it be short and plain, the court has the power, . . . to strike any

portions that are redundant or immaterial.” Salahuddin, 861 F.2d at 42. A court may also strike

information that is “immaterial and irrelevant” such that it has “no real bearing on the case” before

it. Petrello v. White, 2018 WL 4344955, at *7–*8 (E.D.N.Y. Sept. 11, 2018).

       As the Court noted at a February 3, 2024, hearing, Exhibit A is “almost exactly” the type

of document that “the Federal Rules are designed to prevent.” It violates Rule 8 because it is neither

“short” nor “plain,” it does not provide “fair notice” of claims, and it places an “unjustified burden”

on the Court and the parties. Salahuddin, 861 F.2d at 42; accord Delaney, 2025 WL 27484, at *1

n.1. Exhibit A also violates Rule 10(a) because it is not a “written instrument,” but a “personal,

narrative summary” that fails to provide a mechanism for framing a responsive pleading. Hogan,

794 F.3d at 255; Ahmad, 2023 WL 8650192, at *5; see also Feb. 3, 2025, Hr’g Tr. at 36:3–6

(“[T]he law of the circuit is pretty clear that you can’t just attach a factual narrative” because



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“there’s no mechanism for responding to the factual narrative that’s attached.”). In addition,

because the Court cannot properly consider the information contained in Exhibit A in evaluating

the instant motion, it is irrelevant and has “no real bearing on the case” before it. Petrello, 2018

WL 4344955 at *7–*8.

                                         CONCLUSION

       For the foregoing reasons, Leslie Sloane and Vision PR, Inc. respectfully request that the

Court dismiss the claims against them with prejudice, 12 award them their attorneys’ fees and costs

under New York’s anti-SLAPP law, and strike Exhibit A to the Amended Complaint.




Dated: February 20, 2025

                                      Respectfully submitted,

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  Dismissal with prejudice is appropriate because “the flaws in [the] pleading are incurable.” See
Kling v. World Health Org., 532 F. Supp. 3d 141, 154 (S.D.N.Y. 2021) (citation omitted). No
amendment could cure the fundamental defects in the Amended Complaint, including that
extortion and false light are not cognizable claims, and all of Ms. Sloane’s statements are
inactionable opinion and/or substantially true. The Wayfarer Parties have already had the
opportunity to amend their pleading and nothing suggests “that a valid claim might be stated if
given a second chance.” Bernstein v. New York City Dep’t of Educ., 2021 WL 4429318, at *13 n.4
(S.D.N.Y. Sept. 27, 2021) (Liman, J.).

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